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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF NEVADA

                                                     ***

UNITED STATES OF AMERICA,                              )
                                                       )
                            Plaintiff,                 )
                                                       )            2:10-cr-00356-LDG-LRL
v.                                                     )
                                                       )            MINUTE ORDER
JEANNIE SUTHERLAND, et al.,                            )
                                                       )
                            Defendants.                )
                                                       ) Dated:      July 5, 2011

PRESENT:         THE HONORABLE LAWRENCE R. LEAVITT, United States Magistrate Judge

JUDICIAL ASSISTANT:         Carol DePino      RECORDER:                          None

COUNSEL FOR PLAINTIFF(S):                                      None Appearing

COUNSEL FOR DEFENDANT(S):                                      None Appearing

        Before the court is defendant Carson Winget’s Motion for Joinder in Jeannie R. Sutherland’s Renewed
Motion for Severance (#104), filed April 4, 2011. Also before the court is defendant Michael Toren’s Joinder
(#107) in Defendant Sutherland’s Renewed Motion for Severance (#102), in which he joined Sutherland’s motion
to the extent that his defense is mutually antagonistic to Winget’s. Winget pled guilty on May 20, 2011, and his
trial was vacated. Dkt (#128).

       IT IS THEREFORE ORDERED that defendant Carson Winget’s Motion for Joinder in Jeannie R.
Sutherland’s Renewed Motion for Severance (#104) is denied as moot.

      IT IS FURTHER ORDERED that defendant Michael Toren’s Joinder (#107) in Defendant Sutherland’s
Renewed Motion for Severance is denied as moot.



                                            LAWRENCE R. LEAVITT
                                            UNITED STATES MAGISTRATE JUDGE
